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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    TERRY L. LANIER,

                            Petitioner,
                                                                   CIVIL ACTION
          v.                                                       NO. 19-3645

    TAMMY FERGUSON, et al.,

                            Respondents.




                                               ORDER

         AND NOW, this 8th day of May 2020, upon consideration of the Petition for a Writ of

Habeas Corpus filed pursuant to 28 U.S.C. § 2254 and after review of the Report and

Recommendation of United States Magistrate Judge Lynne A. Sitarski (Doc. No. 18) and

Petitioner’s Addendum (Doc. No. 19), it is ORDERED that:



         1. The Report and Recommendation is APPROVED and ADOPTED.1



         2. The petition for habeas corpus filed pursuant to 28 U.S.C. § 2254 is DENIED.



1
      As Judge Sitarski stated in her Report and Recommendation, Petitioner does not have the
      requisite liberty interest in parole necessary to establish a procedural due process violation.
      Petitioner has also failed to demonstrate how the Pennsylvania Parole Board’s decision
      denying him release “shocks the conscience,” as required for a substantive due process
      violation. Therefore, Petitioner’s procedural and substantive due process claims are without
      merit. Moreover, in the Addendum (Doc. No. 19), Petitioner only argues that the authorities
      at the prison where he is incarcerated did not help him sufficiently at his parole hearing. This
      claim is not a formal objection to the Report and Recommendation. He does not give any
      reason why this Court should not adopt it. Therefore, the Report and Recommendation will be
      approved and adopted.
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3. The Court finds that Petitioner has failed to make a substantial showing of a denial of

   a constitutional right and accordingly a certificate of appealability shall not issue.




                                              BY THE COURT:



                                              /s/Joel H. Slomsky, J.
                                              JOEL H. SLOMSKY, J.
